    UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


        Everett McKinley Dirksen
                                                                             Office of the Clerk
        United States Courthouse
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          Chicago, Illinois 60604




                                                       ORDER
November 14, 2024

By the Court:
                                     CALEB BARNETT, et al.,
                                             Plaintiffs - Appellees

Nos. 24-3060, 24-3061,               v.
     24-3062, & 24-3063
                                     KWAME RAOUL, et al.,
                                            Defendants - Appellants
Originating Case Information:
District Court Nos: 3:23-cv-00209-SPM, 3:23-cv-00141-SPM, 3:23-cv-00192-SPM, & 3:23-cv-00215-SPM
Southern District of Illinois
District Judge Stephen P. McGlynn


The court, on its own motion, orders these appeals are CONSOLIDATED for purposes of
briefing and disposition.

A preliminary review of the short records indicates that the judgments in these cases are
deficient. A judgment must provide relief to which the prevailing party is entitled. Hyland v.
Liberty Mutual Fire Ins. Co., 885 F.3d 482, 483 (7th Cir. 2018). In particular, Rule 65(d) of the
Federal Rules of Civil Procedure requires (among other things) that an order granting an
injunction state its terms specifically and describe in reasonable detail the acts restrained or
required. The injunction must be set forth in a document separate from the court’s opinion.
MillerCoors LLC v. Anheuser-Busch Companies, LLC, 940 F.3d 922 (7th Cir. 2019). The separate
judgments entered in these cases fail to provide any relief and merely state that judgment is
entered in favor of each of the plaintiffs against certain defendants. Accordingly,

IT IS FURTHER ORDERED that both appellants and appellees each shall file, on or before
December 2, 2024, a brief memorandum stating why this appeal should not be remanded to the
district court to enter a proper judgment. Briefing is SUSPENDED pending further court order.




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